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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
       H                                              Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      March 31, 2023

BY ECF

The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 518
New York, New York 10007

       Re:     United States v. Sayfullo Habibullaevic Saipov, S1 17 Cr. 722 (VSB)

Dear Judge Broderick:

        The Government writes in brief response to the defendant’s letter of March 21, 2023 (Dkt.
No. 779), seeking to vacate the Court’s Orders of February 3, 14, 23, and 24, 2023 (See Dkt. No.
750). The Government continues to agree that the Court has the authority to direct the defendant
to provide the information requested, and that the information is relevant. The Government does
not, however, object to the defense providing the information under seal and ex parte, provided
the information is preserved for the record.

         First, the information requested by the Court is relevant to pending and future litigation in
this case. The Court, for example, indicated that it intends to issue a written decision explaining
the Court’s denial of the defendant’s motion for a trial adjournment and evidentiary hearing based
on alleged Brady violations by the Government. The information presently requested by the Court
is relevant to that motion in light of the defense’s argument that the defendant would be prejudiced
by proceeding to trial as scheduled because the defense could not review the Government’s
disclosures and also prepare for trial. (Dkt. No. 525, at 18-19). The defense made similar
arguments in connection with other motions made throughout the pendency of this case relating to
both phases of the trial. 1 While the defense has represented that current counsel does not intend
to file any post-trial motions or appeal any issue relating to the penalty phase, that representation
is not binding on the defendant (or any subsequent counsel), and, in any event, the information

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  See, e.g., Dkt. No. 475, at 3-4 (arguing that receipt of penalty phase informative outline two
weeks before voir dire would violate the defendant’s Fifth, Sixth, and Eighth Amendment rights
because, among other reasons, counsel would be fully occupied with voir dire and evidentiary
hearings); Dkt. No. 619, at 4-5 (arguing that the defendant was prejudiced by the timing of the
Government’s identification of four witnesses based, in part, on the necessary devotion of
resources to brief-writing, reviewing the Government’s “belated Brady disclosures,” and
participating in individual voir dire).
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requested by the Court remains relevant to any appeal of the defendant’s liability-phase conviction
and any subsequent litigation pursuant to Title 28, United States Code, Section 2255. 2

       Second, the Government does not concede that the information requested by the Court is
attorney work product or that it is confidential. Nonetheless, the Government does not object to
the defense providing the information to the Court under seal and ex parte, provided that the
information is preserved, and with the understanding that the Government may seek access to the
information for purposes of defending against any relevant argument on appeal or in other post-
conviction litigation.

       For the foregoing reasons, the Court should deny the defendant’s request to vacate the
Court’s February 24, 2023 Order. As noted, however, the Government does not object to the
defense responding to the Court’s Order under seal and ex parte.


                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney


                                                 By:          /s/
                                                       Andrew Dember
                                                       Amanda Houle
                                                       Jason A. Richman
                                                       Alexander Li
                                                       Assistant United States Attorneys

cc: Defense counsel (by ECF)




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  The Government further notes that the Court permitted the defense to delay production of the
requested information after confirming that the defense would not argue that the delay to a date
following the sentencing verdict would moot the Court’s inquiry. (Trial Tr. at 3192).
